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                                         ORDERED.


       Dated: February 19, 2019




                          UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF FLORIDA – ORLANDO DIVISION

                                                            CASE NO. 6:19-bk-00046-KSJ
                                                            CHAPTER 7
IN RE:

Surujnauth T Bharrat aka
Surujnauth Tickaram Bharrat and
Lilawatti Bharrat,

                    Debtor
__________________________________/

                   ORDER GRANTING MOTION FOR RELIEF FROM STAY
               IN FAVOR OF FEDERAL NATIONAL MORTGAGE ASSOCIATION
                        (Re: 2133 Korat Lane, Maitland, Florida 32751)

          THIS CASE came on for consideration on the Motion for Relief from Stay (Document
No. 13) filed by Seterus, Inc., as authorized subservicer for Federal National Mortgage
Association (“Fannie Mae”), a corporation organized and existing under the laws of the United
States of America, (“Secured Creditor”). No appropriate response having been filed in
accordance with Local Rule 2002-4, it is,
          ORDERED
          1.        Secured Creditor’s Motion for Relief from Stay is GRANTED.
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          2.        The automatic stay imposed by 11 U.S.C. § 362 is lifted with respect to real
                    property located at: 2133 Korat Lane, Maitland, Florida 32751 and legally
                    described as:
                    LOT 194, OF WINFIELD UNIT 2, ACCORDING TO THE PLAT
                    THEREOF, AS RECORDED IN PLAT BOOK 36, PAGE 114
                    THROUGH 116, INCLUSIVE, OF THE PUBLIC RECORDS OF
                    ORANGE COUNTY, FLORIDA.

          3.        That automatic stay is modified for the sole purpose of allowing Movant complete
                    in rem relief to take any and all steps necessary to exercise any and all rights it
                    may have in the collateral, to gain possession of said collateral, to have such other
                    and further in rem relief as is just, but the Movant shall not obtain in personam
                    relief against the Debtor.
          4.        Bankruptcy fees and cost of $526.00 are awarded for bringing forth the
                    prosecution of the Motion for Relief.
          5.        All communications sent by Secured Creditor in connection with proceeding
                    against the property including, but not limited to, notices required by state law
                    and communications to offer and provide information with regard to a potential
                    Forbearance Agreement, Loan Modification, Refinance Agreement, Loss
                    Mitigation or other Loan Workout, may be sent directly to the Debtor.
                                                    ###
Submitted by:
Marc G. Granger
Kahane & Associates, P.A.
8201 Peters Road, Ste.3000
Plantation, FL 33324
Telephone: (954) 382-3486

Attorney Marc G. Granger, Esq. is directed to serve a copy of this order on interested
parties and file a proof of service within 3 days of entry of the order.

* All references to “Debtor” shall include and refer to both of the debtors in a case filed jointly
by two individuals




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Copies furnished to:

Surujnauth T Bharrat
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Maitland, FL 32751

Lilawatti Bharrat
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Maitland, FL 32751

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Trustee
Gene T Chambers
Post Office Box 533987
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U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801




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